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MS. COSTANTIN: Thank you.

CROSS-EXAMINATION

BY MR. ROSENBLUM;

Q Agent or Officer, which do you prefer?
A "Agent" is fine.
Q I'm handing you three of your 302s and your grand jury

testimony. Okay?

A Okay.
Q If you need to refer to it, you can let us know. So what
I put in -~ what I placed in front of you are 302s where you

had previously spoken to the FBI; correct?

A That's correct.

Q And also Department of Justice lawyers Fara Gold and
Emily Savner; correct?

A That's correct.

Q Do you remember doing that the first time on July 12th,
2018, and again on October 4th, 2018; would that be correct?
A That's correct.

QO And then after that time, after you had an -- after the
photographs were discovered, you spoke to them again. You

spoke to Agent Boehlje, I believe, on March 4th, 2020;

correct?

A Yes.

Q Now, prior to meeting here today, did you have a chance
to go over the Luther Bryant photos again -- I'm sorry -- the

 

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A Yes.

Q Now, all the pictures in between -- 109, where the

line -- and, incidentally, could we go back to the line, 109,

for just one moment? I think you said that you were marching

in -- in pairs. That's what you said --

A Yes.

QO -- this morning; correct?

A Yes.

Q Do you remember what you said to the grand jury and to

the. FBI, how you described that line before it broke off?

A I'd have to look at that.

Q Sure. You can look at your grand jury testimony on page
8, if that will refresh your recollection just for the moment,
lines 22 through 25. The bottom of the page.

A Oh, okay. Yes, I see it.

Q Do you see where you were asked if you were walking and
if your folks on your team are walking, are you walking in a

single-file line, and your answer was, "Yes, we are walking in

a Single-file line." Do you see that?

A Yes.

QO And that was just a mistake; right?

A No. We're in two lines of single file. Two.

Q So that looks like a single-file line to you?

A No. When I said single-file line, I meant I was ina

Single-file line; the other line was next to us.

 

 
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QO And whose voices are they?

A Steve Korte and Randy Hays.

MS. COSTANTIN: Okay. Judge, I have nothing more.
THE COURT: Cross-examination, Mr. Rosenblum.
Counsel, would you put your mask back on?
MS. COSTANTIN: I'm sorry, Judge. I'm sorry. I'm
sorry.
CROSS-EXAMINATION

BY MR. ROSENBLUM:

Q Good afternoon, Officer.
A Hello.
Q I have: placed in front of you your previous grand jury

testimony of July 25th, 2018, if you need to refer to it, as
well as your 302, which is the FBI report, again, on

October Ist of 2018 -- I'm sorry -- on July 24th of 2018,
which is in the lower left-hand corner. Okay?

So just to go over a few things that you had talked to
the prosecutor about, do you recall where you were left off at
the -- on September 17th? On September 17th of 2017, on your
bus, where were you left off?

A As in where they dropped us off?

Q Uh-huh.

A It was somewhere on Tucker.
QO Now, you met with the prosecutors before; fair enough?
A Yes.

 

 
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the presence of the grand jury, wasn't it?

A Yes.

Q And you were -- and Fara Gold and Emily Savner played

that recording for you, did they not?

A Yes.

Q Steve Korte's name was brought up, wasn't it?

A Yes, it was.

Q And then the recording was played; correct?

A Yes.

Q And then you ID'd Steve Korte's voice on the audio

portion, on the audio recording of Luther Hall's cell phone?
A Yes.

Q We've come to know that as Government's Exhibit 2 that
was played for you here today; correct?

A I believe so.

Q All right. When you, in fact, got into the grand jury
itself, the subject matter of this audio, well, Government's
2, this audio identification -- you went through that in front
of the grand jurors exactly, did you not, sir?

A I did.

Q And it's been quite some time ago. I have in front of
you a transcript of your grand jury testimony from July 25th,
2018. This audio clip was played for you more than one time
when you were in front of the grand jury; correct, sir?

A I believe so.

 

 
